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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                  LUBBOCKDryISION

UNITED STATES OF AMERICA,
     Plaintiff,

                                                            NO. 5:20-CR-014-01-H

RAYMOND EARL RILEY (1),
     Defendant.


                  ORDER ACCEPTING REPORT AND RECOMMEIYDATION
                     OF TIIE UNITED STATES MAGISTRATE JUDGE
                            CONCERNING PLEA OF GUILTY

         After reviewing all relevant matters of record, including the Notice Regarding Entry

of a Plea of Guilty, the Consent of the Defendant, and the Report and Recommendation

Conceming Plea of Guilty of the United States Magistrate Judge, and no objections thereto

having been filed within fourteen (14) days of service in accordance with 28 U.S.C.

$   636OX1), the undersigrred District Judge is of the opinion that the Report and

Recommendation of the Magistrate Judge conceming the Plea of Guilty is correct, and it is

hereby accepted by the Court. Accordingly, the Court accepts the plea of guilty and

Defendant is hereby adjudged guilty

         Sentence will be imposed in accordance with the Court's scheduling order.

         SO ORDERED.

         Datedoctober    1    ,2020.



                                             JAMES        SLEYHEND
                                             UNITE     STATES DISTRICT JUDGE
